Case 5:21-cv-01264-JVS-KS Document10 Filed 10/12/21 Page1lof2 Page ID #:33

2UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. _EDCV 21-1264 JVS (KS) Date: October 12, 2021

Title Jerome Heggins Renee v. Chino State Prison Fac. et al.

 

 

Present: The Honorable: Karen L. Stevenson, United States Magistrate Judge

 

 

 

Gay Roberson N/A
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiff: Attorneys Present for Defendants:

Proceedings: (INCHAMBERS) ORDER TO SHOW CAUSE RE: DISMISSAL

On July 28, 2021, Plaintiff, a California state prisoner proceeding pro se, filed a civil rights
complaint alleging deliberate indifference to his serious medical needs against Chino State Prison
and four unnamed medical professionals presumably employed by the California Department of
Corrections and Rehabilitation. (Dkt. No. 1.) Plaintiff did not pay the filing fee but instead
submitted a request to proceed in forma pauperis (“IFP”). (Dkt. No. 2.)

On August 20, 2021, the District Judge found that Plaintiff made an “[i]nadequate showing
of indigency,” and that his “Inmate Trust Statement reflects an average balance well in excess of
the total filing fee for the past six months.” The Court denied Plaintiff's IFP request and expressly
ordered Plaintiff to “PAY THE FILING FEES IN FULL within 30 days or this case will be
dismissed.” (Dkt. No. 8.)

On September 2, 2021, Plaintiff attempted to electronically file his Complaint, as
previously ordered by the Court, but he again did not pay the filing fee. (Dkt. No. 5.) He has
initiated no further contact with the Court.

Nearly a month has passed since Plaintiff's September 20, 2021 deadline to pay the filing
fee. To date, Plaintiff has not done so despite a Court order expressly warning him that the case
would be dismissed by September 20, 2021 if he failed to remit the fee. Moreover, Plaintiff has
had almost two months — the time that elapsed since his IFP request was denied — to pay the filing
fee or seek an extension of time to do so. Instead, Plaintiff has not responded to the Court’s August
20, 2021 Order. Accordingly, IT IS HEREBY ORDERED that Plaintiff shall show cause, no
later than November 2, 2021, why the action should not be dismissed.

 

CV-90 (03/15) Civil Minutes — General Page 1 of 2
Case 5:21-cv-01264-JVS-KS Document 10 Filed 10/12/21 Page 2of2 Page ID #:34
2UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES —- GENERAL

Case No. EDCV 21-1264 JVS (KS) Date: October 12, 2021

Title Jerome Heggins Renee v. Chino State Prison Fac. et al.

To discharge this Order and proceed with his case, Plaintiff must pay the $400 filing
fee in full before the extended November 2, 2021 deadline. Plaintiff's failure to timely comply
with this Order will result in a recommendation of dismissal of this case. The Court does not
anticipate granting any further extensions of time to pay the filing fee absent a clear showing
of extraordinary circumstances.

IT IS SO ORDERED.

Initials of Preparer — gr

 

CV-90 (03/15) Civil Minutes — General Page 2 of 2
